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Exhibit G

Oard V. Coun ty OfMuSkegon and 14th Judjcja] le“cujt C'oul"t
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT CF MICHIGAN

VERNON OARD,
Plaintiff,
V Case No. 1:17-CV-1136
Hon. PAUL L. MALGNEY

COUNTY OF MUSKEGON, and
14TH JUDICIAL CIRCUIT COURT,

 

Defendants.
PINSKY, SMITH, FAYETTE JOHNSON, ROSATL
& KENNEDY, LLP SCHULTZ & JOPPICH, P.C.
By: Sarah Riley Howard (P58531) By: Laura S. Amtsbuechler (P36972)
Erin Dornbos (P80834) Laura Bailey Brown (P79742)
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DEFENDANTS’ SUPPLEMENTAL PRIVILEGE/REDACTION LOG

 

BATES-STAMPED

PAGE NO. REASON F()R REDACTION

 

Attorney-olient communication/ attorney Work
862-D

product
1094-D to 1095-D Confidential, third-party information redacted
1099-D to llOO-D Confidential, third-party information redacted
1255-D to 1256-D Confldential, third-party information redacted
1274-D to 1275-D Confldential, third-party information redacted

 

 

 

 

 

 

 

 

 

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1280-D to 1281-D Confidentiai, third-party information redacted
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1324-D to 1327-D

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1329-D to 1332-D

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1337-D to 1341-D

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1354-D to 1355-D

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13 5 7-D Confidential, third-party information redacted
13 5 9-D Confidential, third-party information redacted
13 61 -D to 13 66-D Confidential, third-party information redacted
13 69-D Confidential, third-party information redacted

 

1376-D to 1377-D

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1379-D to 1380-13

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1382-D to 1383-D

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1386-D to 1390-D

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1527-D Confidential, third-party information redacted
1544-D Confidential, third-party information redacted
1651-13 Confidential, third-party information redacted
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1668-D Confidential, third-party information redacted

 

 

 

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Dated:___Au,<.zuSt 24, 2018

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